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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

JANE DOE,                                          )
                                                   )
                                   Plaintiff,      )
                                                   )    Civil Action No.
         v.                                        )    1:17-cv-01034-JTN-ESC
                                                   )
MICHIGAN STATE UNIVERSITY;                         )
MICHIGAN STATE UNIVERSITY BOARD                    )
OF TRUSTEES; LOU ANNA SIMON in her                 )
Individual and Official Capacities;                )
                                                   )
                                   Defendants.     )

                                 [PROPOSED] ORDER


              AND NOW, on this ____ day of _____________, 2018, after consideration of

MSU’s Motion to Dismiss, and any Response(s) thereto, IT IS HEREBY ORDERED that the

Motion is GRANTED. Plaintiff’s Complaint is dismissed with prejudice.



                                           BY THE COURT:




                                           J.
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

JANE DOE,                                             )
                                                      )
                                     Plaintiff,       )
                                                      )    Civil Action No.
         v.                                           )    1:17-cv-01034-JTN-ESC
                                                      )
MICHIGAN STATE UNIVERSITY;                            )
MICHIGAN STATE UNIVERSITY BOARD                       )
OF TRUSTEES; LOU ANNA SIMON in her                    )
Individual and Official Capacities;                   )
                                                      )
                                     Defendants.      )

                        MICHIGAN STATE UNIVERSITY’S
                   MOTION TO DISMISS PLAINTIFF’S COMPLAINT

              Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Michigan State

University (“MSU”) hereby moves the Court to dismiss Plaintiff’s Complaint for the reasons set

forth in the accompanying Memorandum of Law. MSU’s counsel asked Plaintiff’s counsel by

phone on June 19, 2018 whether Plaintiff would concur in the motion, and Plaintiff’s counsel

responded that they do not concur.
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              MSU requests oral argument on this Motion pursuant to Local Rule 7.2(d).

Date: July 10, 2018                            Respectfully submitted,

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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JANE DOE,                                  )
                                           )
                             Plaintiff,    )
                                           )   Civil Action No.
       v.                                  )   1:17-cv-01034-JTN-ESC
                                           )
MICHIGAN STATE UNIVERSITY;                 )
MICHIGAN STATE UNIVERSITY BOARD            )   ORAL ARGUMENT REQUESTED
OF TRUSTEES; LOU ANNA SIMON in her         )
Individual and Official Capacities;        )
                                           )
                             Defendants.   )

            BRIEF IN SUPPORT OF MICHIGAN STATE UNIVERSITY’S
                MOTION TO DISMISS PLAINTIFF’S COMPLAINT

                      ORAL ARGUMENT REQUESTED
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           CONCISE STATEMENT OF REASONS SUPPORTING POSITION

               The Complaint asserts claims for gender discrimination under Title IX of the

Educational Amendments of 1972. The Complaint should be dismissed pursuant to Rule

12(b)(6) because Plaintiff’s allegations of discrimination do not demonstrate intentional gender

discrimination under Title IX as required by Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S.

274 (1998) and Davis v. Monroe Cty. Bd. of Educ., 526 U.S. 629 (1999). Plaintiff concedes that

defendant Michigan State University (“MSU”) took action in response to her allegation of sexual

misconduct, ultimately finding her alleged assailant responsible and disciplining him. Plaintiff’s

Complaint makes clear she never saw her alleged assailant again after making her report to

MSU. Because Plaintiff cannot establish that MSU was deliberately indifferent to her claim or

that she suffered any additional harassment after MSU was put on notice of her claim, the

Complaint should be dismissed.
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I.     INTRODUCTION

               Plaintiff is a former Michigan State University (“MSU”) student. She claims that

in March 2015, she was sexually assaulted by an MSU student, who had graduated and left

campus, but was visiting the campus on that day for his NFL “Pro Day.” Plaintiff agrees that

MSU investigated her claim, disciplined her assailant, and that she faced no further harassment

from her assailant after reporting her assault. Indeed, she never saw the man again.

Nevertheless, Plaintiff claims that MSU violated Title IX of the Educational Amendments of

1972 (“Title IX”), by taking too long to resolve her complaint and failing to provide her with the

particular remedies she desired.

               MSU did assist Plaintiff with the effect of her assault pending the outcome of her

disciplinary proceeding; thus, the allegations in the Complaint are untrue. But even accepting

the allegations in the Complaint as true, as MSU must for purposes of this Motion, Title IX does

not provide a damages claim for negligently handling a student disciplinary claim or for failing

to “remedy” sexual harassment committed by others. In two seminal decisions, Gebser v. Lago

Vista Indep. Sch. Dist., 524 U.S. 274 (1998), and Davis v. Monroe Cty. Bd. of Educ., 526 U.S.

629 (1999), the Supreme Court held that a Title IX claim for damages is available only upon a

showing of intentional gender discrimination, meaning a school’s deliberate indifference to

known acts of sexual harassment. Schools are not liable simply because sexual harassment

occurs on their campuses, nor is a school required to provide any particular remedy or response

when it learns of past acts of harassment by members of its community. Rather, Title IX permits

liability only where a school knows that there is ongoing harassment in its programs, and then

makes an affirmative decision to ignore it. Only then can it be said that the school has subjected

the student to harassment.
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               Plaintiff does not plead facts sufficient to meet this high bar. MSU took action in

response to her report, and Plaintiff does not plead that she was subject to any further harassment

after her report, let alone any harassment caused by MSU. While Plaintiff may disagree with the

particulars of MSU’s response, MSU did not subject Plaintiff to harassment. It is not liable for

allegedly failing to remedy the effects of past harassment committed by someone else.

Therefore, the Court should grant MSU’s motion and dismiss the Complaint with prejudice.

II.    FACTUAL ALLEGATIONS PLEADED IN THE COMPLAINT1

               Plaintiff alleges that she was assaulted by another MSU student, Keith

Mumphery, after inviting him to her dorm room on or around March 17, 2015. PageID.5 at ¶¶

23-27. Mumphery was a former MSU football player, who had graduated in May 2014 and

finished his final football season in December 2014. PageID.9 at ¶ 53. On the day Plaintiff

invited him back to her room, Mumphery was allegedly visiting the campus for his NFL Pro

Day. PageID.4 at ¶ 20. Plaintiff reported the assault to the MSU Police on March 17, 2015.

PageID.5 at ¶ 28. On March 18, 2015, Plaintiff reported the assault to MSU’s Office for

Inclusion and Intercultural Initiatives (“I3”), which was renamed the Office of Institutional

Equity (“OIE”) in April 2015. Id.

               OIE began investigating Plaintiff’s report in April 2015 and completed its

investigation on September 8, 2015. PageID.5-6 at ¶¶ 29-30. OIE originally concluded that

Mumphery had not violated MSU’s sexual misconduct policy. PageID.7 at ¶ 40. But Plaintiff

alleges that, in January 22, 2016, OIE reopened her case for further review (PageID.9 at ¶ 49),

       1
          Although many of the allegations in the Complaint are absolutely untrue, MSU accepts
as true, as it must for purposes of this Motion only, the facts as pleaded in the Complaint.
Further, this Motion addresses only Count I of the Complaint asserted against Michigan State
University, because Plaintiff agrees that the MSU Board of Trustees and President Simon are no
longer defendants and has withdrawn all counts asserted against them.


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and that, on March 21, 2016, OIE concluded that Mumphery had violated MSU’s sexual

misconduct policy because Plaintiff had not given “consent” as defined under the policy. Id. at ¶

50.2 Plaintiff alleges that both she and Mumphery were notified of these findings on or about

March 21, 2016. Id. at ¶¶ 51-52. Plaintiff alleges that, on June 7, 2016, MSU sanctioned

Mumphery by banning him from re-enrolling at MSU or from entering the MSU campus or

facilities until December 31, 2018. PageID.9-10 at ¶¶ 53-54.

               Plaintiff does not allege that she ever saw or heard from Mumphery after the

alleged March 2015 assault. Indeed, she alleges that Mumphery was no longer an MSU student

at the time of the alleged assault, having graduated the prior Spring. PageID.9 at ¶ 53. Instead,

Plaintiff takes issue with MSU’s alleged failure to provide her with particular remedies to

address the effects of the assault and her fear that she might encounter Mumphery, even though

he no longer was on campus. Plaintiff alleges – inaccurately – that MSU did not inform her

about or offer her any accommodations or “interim measures” such as academic support, no

contact orders or interim suspensions. PageID.6 at ¶¶ 31, 36. Plaintiff further alleges that MSU

did not restrict Mumphery from being on campus pending the investigation. Id. at ¶ 32. Plaintiff

alleges that Mumphery “periodically” came to the OIE office located in her work building for

interviews during the investigation. Id. at ¶¶ 32-34. But, again, she does not allege that she ever

saw Mumphery or interacted with him in her work building or at any time after the alleged

assault.




           2
         The Complaint alleges – inaccurately – that Plaintiff’s case was reopened based on a
review by the U.S. Department of Education’s Office for Civil Rights (“OCR”). PageID.8 at ¶¶
47-48. In fact, the change in outcome came after Plaintiff filed a challenge to the original
decision issued by OIE.


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               Plaintiff alleges that she quit her job because she was scared she might run into

Mumphery, and that the effects of her assault caused her grades and sleep to suffer. PageID.6 at

¶ 35, PageID.7 at ¶ 37. Plaintiff sought counseling services through MSU’s Olin Health Center,

but ultimately chose to pursue more comprehensive private counseling services. PageID.7 at ¶

38. Plaintiff alleges that MSU did not give her any information about financial assistance for

counseling. Id.

               Plaintiff alleges that she went to MSU’s Center for People with Disabilities

(“RCPD”) to obtain a “school visa” because she continued to struggle in school during her

sophomore year. Id. ¶¶ 41-42. She alleges that, after two failed attempts to meet with an RCPD

representative as scheduled, she met with an RCPD representative to obtain the visa in March

2016. PageID.8 at ¶ 43. According to Plaintiff, she was traumatized by the RCPD meeting

because she had to describe her assault in order to provide a basis for requesting the visa. Id. at ¶

44.

               According to Plaintiff, on June 14, 2016, MSU posted a “tweet” on Twitter saying

that Mumphery would be attending an MSU-sponsored football camp on June 16, 2016. Id. at ¶

56 and PageID.20. Plaintiff also alleges that MSU invited Mumphery to attend a golf outing

scheduled for June 17, 2016. PageID.10 at ¶ 57. Plaintiff alleges that her friends notified her

that Mumphery “had been spotted on campus and around East Lansing” that weekend, and that

she called unidentified “campus authorities” but received no information about Mumphery’ s

whereabouts. PageID.10-11 at ¶ 62. Again, Plaintiff does not allege that she saw or encountered

Mumphery at that, or any other time.

III.   LEGAL STANDARD FOR A MOTION TO DISMISS

               In deciding a Rule 12(b)(6) motion, the court must accept the facts pleaded in the

complaint as true, but it need not accept, without more, legal conclusions masquerading as facts.

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Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007)). The allegations in a complaint “must be enough to raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555. “Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Iqbal, 129 S. Ct. at 1947

(citing Twombly, 550 U.S. at 555). “[W]here the well-pleaded facts do not permit the court to

infer more than the mere possibility of misconduct, the complaint has alleged – but it has not

‘show[n]’ – ‘that the pleader is entitled to relief.’” Iqbal, 129 S. Ct. at 1950 (quoting Fed. R.

Civ. P. 8(a)(2)). Plaintiffs must “provide the ‘grounds’ of his ‘entitle[ment] to relief’ [which]

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Twombly, 550 U.S. at 555 (citation omitted).

IV.    ARGUMENT

       A.      The Court Should Dismiss The Complaint Because Plaintiff Does Not State a
               Title IX Claim For “Deliberate Indifference”

               1.      Title IX Provides a Damages Claim Only for Intentional Gender
                       Discrimination: An Institutional Decision Not to Address Known,
                       Ongoing Harassment.

               Title IX provides: “No person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

While the statute does not provide for a civil remedy, the Supreme Court implied a narrow right

of action for damages in Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274 (1998), and Davis

v. Monroe Cty. Bd. of Educ., 526 U.S. 629 (1999). According to this Supreme Court precedent,

in the context of sexual harassment between members of the school’s community, a cause of

action for damages is available only where the school itself has engaged in intentional gender

discrimination, by making an affirmative decision not to address known, ongoing harassment in


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its educational programs, thus allowing the harassment to continue. Title IX does not require a

school to provide a particular remedy in response to one student’s sexual assault of another

student. Plaintiff’s claims here fail because she takes issue with the particular remedies MSU

provided her; she does not allege that MSU subjected her to further harassment.

               In Gebser, the Supreme Court considered a Title IX claim premised on a school

teacher’s sexual relationship with an eighth grade student. In finding that the school district

could not be liable for the teacher’s conduct, the Supreme Court held that “a damages remedy

will not lie under Title IX unless an official who at a minimum has authority to address the

alleged discrimination and to institute corrective measures on the recipient’s behalf has actual

knowledge of discrimination in the recipient’s programs and fails adequately to respond.”

Gebser, 524 U.S. at 290. “[T]he response must amount to deliberate indifference to

discrimination. . . .The premise, in other words, is an official decision by the recipient not to

remedy the violation.” Id. (emphasis added). The Supreme Court declined to impose liability

based on principles of respondeat superior or constructive notice of the ongoing sexual

relationship, id. at 285, explaining that any standard lower than deliberate indifference (such as

negligence), would create “a risk that the recipient would be liable in damages not for its own

official decision but instead for its employee’s independent actions.” Id. at 290-91. Although

the school district in Gebser had knowledge of other inappropriate comments by the teacher

involved, it could not be liable under Title IX because it did not have actual knowledge of the

sexual relationship while it was occurring. Id. at 292.

               The next year, in Davis, the Supreme Court considered whether a school district

could be liable for a fifth grader’s continual sexual harassment of another student. Guided by the

principle from Gebser, Davis affirmed that a private right of action under Title IX is available



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only “where the funding recipient engages in intentional conduct that violates the clear terms of

the statute.” 526 U.S. at 641-42 (emphasis added). Emphasizing the narrowness of the cause of

action, the Davis Court held that schools can be liable only for their own actions that amount to

intentional gender discrimination – meaning (1) “the funding recipient acts with deliberate

indifference to known acts of harassment in its programs or activities,” id. at 632; (2) the

deliberate indifference of the school “‘cause[s] [students to undergo’ harassment or ‘make[s]

them liable or vulnerable’ to it[,]’” id. at 645 (quoting Random House Dictionary); and (3) the

harassment caused by the school is “so severe, pervasive, and objectively offensive that it

effectively bars the victim’s access to an educational opportunity or benefit” provided by the

school. Id. at 633.

               Davis thus makes clear that schools are not required to remedy past harassment,

they are only required to take action to stop known, ongoing harassment:

               The dissent consistently mischaracterizes [the “clearly
               unreasonable”] standard to require funding recipients to “remedy”
               peer harassment. . . . Title IX imposes no such requirements. On
               the contrary, the recipient must merely respond to known peer
               harassment in a manner that is not clearly unreasonable.

Davis, 526 U.S. at 648-49.

                       a.      Plaintiff Must Plead and Prove that the Defendant was
                               Deliberately Indifferent

               Deliberate indifference occurs “only where the [school’s] response to the

harassment or lack thereof is clearly unreasonable in light of the known circumstances.” Davis,

526 U.S. at 648 (emphasis added). In other words, the school’s response must be so

unreasonable that one can infer there was “an official decision by the recipient not to remedy”

the harassment. Gebser, 524 U.S. at 290; see Doe v. Willits Unified Sch. Dist., 473 F. App’x

775, 776 (9th Cir. 2012) (“To meet this high standard there must, in essence, be an official


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decision not to remedy the violation and this decision must be clearly unreasonable.”).

“‘Deliberate indifference’ in this context does not mean a collection of sloppy, or even reckless,

oversights; it means evidence showing an obvious, deliberate indifference to sexual abuse.” Doe

v. Claiborne County, Tenn., 103 F.3d 495, 508 (6th Cir. 1996).

                As such, a school’s alleged failure to follow its internal policies and procedures

does not rise to the level of deliberate indifference. See Gebser, 524 U.S. at 291 (holding that a

school’s failure to adopt grievance procedures for resolving sexual harassment claims does not

itself constitute discrimination under Title IX); Sanches v. Carrollton-Farmers Branch Indep.

Sch. Dist., 647 F.3d 156, 169 (5th Cir. 2011) (“A district’s ‘failure to comply with [its]

regulations . . . does not establish the requisite . . . deliberate indifference.’”); Facchetti v.

Bridgewater Coll., 175 F. Supp. 3d 627, 638 (W.D. Va. 2016) (“[A] Title IX defendant’s failure

to comply with its own policy does not prove deliberate indifference, under clear Supreme Court

precedent.”).

                Similarly, mere delays in a school’s disciplinary process do not constitute

deliberate indifference. Oden v. Northern Marianas Coll., 440 F.3d 1085, 1089 (9th Cir. 2006)

(holding that college’s nine-month delay in proceedings was not deliberately indifferent, even if

it may have been negligent and in violation of school’s own policy); Karasek v. Regents of the

Univ. of Cal., No. 15-cv-03717-WHO, 2016 U.S. Dist. LEXIS 98949, at *45-46 (N.D. Cal. July

28, 2016) (finding allegations that the university failed to update plaintiff during its investigation

and disciplinary process were, at most, “nonactionable negligence, laziness, or carelessness,” and

not deliberate indifference); Staehling v. Metro. Gov’t, No. 3:07-0797, 2008 U.S. Dist. LEXIS

91519, at *35 (M.D. Tenn. Sept. 12, 2008) (“While the alleged failure of the school in its follow-




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up to the . . . incident may suggest negligence, this is not sufficient to me[e]t the deliberate

indifference standard under Title IX.”).

               Finally, the Davis Court made clear that Title IX does not entitle complainants to

make particular remedial demands. The Court admonished the lower courts against second-

guessing decisions of school administrators, and stressed that its holding does not require

institutions to “purg[e] their schools of actionable peer harassment or that administrators must

engage in particular disciplinary action,” nor does it require schools to expel every student

accused of sexual misconduct. 526 U.S. at 648; see Vance v. Spencer County Pub. Sch. Dist.,

231 F.3d 253, 260 (6th Cir. 2000) (stating “[v]ictims do not have a right to particular remedial

demands” under Title IX); Facchetti, 175 F. Supp. 3d at 638 (recognizing “ample authority

holding that neither a school’s negligence in addressing a sexual assault, nor its failure to provide

the remedy wanted by the victim, constitutes deliberate indifference”) (citing cases).

               “In an appropriate case, there is no reason why courts, on a motion to dismiss . . .

could not identify a response as not ‘clearly unreasonable’ as a matter of law.” Davis, 526 U.S.

at 649.

                       b.      Plaintiff Must Plead and Prove that the School’s Deliberate
                               Indifference Caused Her to Suffer Additional Severe and Pervasive
                               Harassment

               Even where a school’s response to sexual harassment can be found to be “clearly

unreasonable,” the school cannot be liable unless that clearly unreasonable response causes the

Plaintiff to suffer additional harassment. A school is only liable where it “subjects” a student to

harassment, meaning that the school’s deliberate indifference “effectively ‘cause[s]’ the

discrimination” for which the plaintiff seeks damages. Davis, 526 U.S. at 642-43, 644. As one

district court in this Circuit has noted, “[t]he relationship between causation and deliberate

indifference is vitally important in a student-on-student harassment case . . . [because] plaintiffs

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do not seek to recover against the perpetrator of the harassment[;] [r]ather they bring suit against

the entity receiving federal funds for its own decision to remain idle . . . .” Moore v. Murray

State Univ., No. 5:12-CV-00178, 2013 U.S. Dist. LEXIS 33768, at *10 (W.D. Ky. Mar. 12,

2013).

                A damages claim under Title IX does not exist for failing to remedy the effects of

past harassment. See KF v. Monroe Woodbury Central Sch. Dist., No. 12-CV-2200 (ER), 2012

U.S. Dist. LEXIS 60341, at *30 (S.D.N.Y. Apr. 30, 2012) (denying preliminary injunction under

Title IX because school’s response was not clearly unreasonable where plaintiff faced no further

harassment after making her report and school had no duty to remedy “the psychological effects

of the alleged behavior to which she was previously subjected”). It is available only if the school

subjects a student to harassment by failing to take actions to stop known, ongoing harassment.

Rosa H. v. San Elizario Indep. Sch. Dist., 106 F.3d 648, 661 (5th Cir. 1997) (“[T]he school

district can be liable, if at all, only for the damages caused by its intentional acts of

discrimination. If the conduct has ceased by the time a supervisory employee . . . learns of it,

there is no liability in a private suit for the conduct based on some personal failure to take

‘proper remedial action’ thereafter.”); Schaefer v. Las Cruces Public Sch. Dist., 716 F. Supp. 2d

1052, 1081 (D.N.M. 2010) (plaintiff must show school “was deliberately indifferent to the

ongoing wrongful conduct”).

                Most courts – including the Sixth Circuit in an unpublished decision – have held

that a plaintiff must allege that the institution’s acts of deliberate indifference caused them to

suffer additional harassment after the school learns of the incident in question. In M.D. v.

Bowling Green Indep. Sch. Dist., 709 F. App’x 775 (6th Cir. 2017), the Sixth Circuit affirmed

that a school’s alleged failure to remedy a student’s fear and emotional trauma stemming from



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past harassment is not sufficient to state a claim under Title IX. Id. at 778. The M.D. Court also

acknowledged that the plaintiff had not alleged any further harassment. Id. See also Stiles v.

Grainger Cty., 819 F.3d 834, 849-851 (6th Cir. 2016) (school liable only for peer on peer

harassment that occurs after school is on notice that its actions to remedy harassment are

ineffectual); Pahssen v. Merrill Cmty. Sch. Dist., 668 F.3d 356, 364 (6th Cir. 2012) (affirming

dismissal of Title IX deliberate indifference claim where “it cannot be said that [defendant’s]

own deliberate indifference effectively cause[d] the discrimination”) (internal quotation marks

and citations omitted). As one district court observed, “in nearly every case discussing deliberate

indifference regarding a school’s response to reports of harassment, abuse, or discrimination, the

Sixth Circuit’s focus has been on whether the school could have or should have done [things]

differently in order to bring the . . . harassment to a stop.” K.C. v. Cty. Schs., No. 5:16-CV-

00136-TBR, 2018 U.S. Dist. LEXIS 15858, at *25 (W.D. Ky. Jan. 29, 2018) (emphasis in

original, internal quotation marks and citation omitted).3

               Other Courts of Appeals and district courts that have addressed the issue likewise

require plaintiff to plead further harassment. See, e.g., K.T. v. Culver-Stockton Coll., 865 F.3d


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         This same issue regarding a further harassment requirement was before the court in
Kollaritsch v. Mich. State Univ. Bd. of Trs., No. 1:15-cv-1191, 2017 U.S. Dist. LEXIS 216502,
at *4 (W.D. Mich. Nov. 2, 2017) (decision on motion to dismiss) and 285 F. Supp. 3d 1028
(W.D. Mich. 2018) (decision granting certification for an interlocutory appeal). In the latter
decision, Judge Maloney acknowledged that the court had allowed some of the plaintiffs’ Title
IX claims to proceed without allegations of further harassment after the school was put on notice
of the conduct. 285 F. Supp. 3d at 1030. But finding a split in authority over the Title IX
pleading standard regarding further harassment, Judge Maloney certified the court’s decision on
the motion to dismiss for an interlocutory appeal (id. at 1032), which the Sixth Circuit recently
accepted. See Michigan St. Univ. Bd. of Trustees v. Kollaritsch, et al., No. 18-1715, 2018 U.S.
App. LEXIS 17379 (6th Cir. June 25, 2018) (noting that the District Court’s decision in
Kollaritsch is in “potential conflict” with at least two decisions from the federal courts of
appeal). Given that the dispositive issue in this case is now before the Sixth Circuit, the Court
may wish to stay resolution of this motion pending a decision from the Sixth Circuit.


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1054, 1058 (8th Cir. 2017) (affirming complaint failed where it “identified no causal nexus

between [college’s] inaction and [plaintiff’s] experiencing sexual harassment”); Blue v. District

of Columbia, 811 F.3d 14, 21 (D.C. Cir. 2015) (affirming school only liable where it has

knowledge of harassment “while the harassment was ongoing”); Williams v. Bd. of Regents of U.

System of Georgia, 477 F.3d 1282, 1296 (11th Cir. 2007) (“[A] Title IX plaintiff at the motion to

dismiss stage must allege that the Title IX recipient’s deliberate indifference to the initial

discrimination subjected the plaintiff to further discrimination.”); Escue v. N. Okla. Coll., 450

F.3d 1146, 1155 (10th Cir. 2006) (“Significantly, we note that Ms. Escue does not allege that

further sexual harassment occurred as a result of NOC’s deliberate indifference”); Reese v.

Jefferson Sch. Dist. No. 14J, 208 F.3d 736, 740 (9th Cir. 2000) (“There is no evidence that any

harassment occurred after the school district learned of the plaintiffs’ allegations. Thus, under

Davis, the school district cannot be deemed to have ‘subjected’ the plaintiffs to the

harassment.”); Montoya v. N.M. Inst. of Mining & Tech. Bd. of Regents, No. 2:16-cv-00386-

MCA-SMV, 2017 U.S. Dist. LEXIS 40641, at *17 (D.N.M. Mar. 21, 2017) (finding no

deliberate indifference where “perhaps most significantly, the Institute’s response did not lead to

further incidents of harassment”); Thomas v. Meharry Med. Coll., 1 F. Supp. 3d 816, 827 (M.D.

Tenn. 2014) (“[B]ecause plaintiff did not continue to experience sexual harassment once he put

defendant on notice of [his harasser’s] conduct, there is no basis to find defendant’s response to

plaintiff’s sexual harassment report amounted to deliberate indifference.”); Lopez v. Regents of

the Univ. of Cal., No. C-13-2811 EMC, 2013 U.S. Dist. LEXIS 173228, at *49-50 (N.D. Cal.

Dec. 10, 2013) (dismissing Title IX claim for failure to allege that deliberate indifference

subjected plaintiff to further discrimination); Moore, 2013 U.S. Dist. LEXIS 33768, at *13-14

(finding Title IX failed as a matter of law where, “even if MSU was deliberately indifferent to



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[plaintiff], there are no allegations that the indifference caused her to experience further or

additional harassment”).

               And, the harassment caused by the University must be “so severe, pervasive, and

objectively offensive that it can be said to deprive the victims of access to the educational

opportunities or benefits provided by the school.” Davis, 526 U.S. at 650. Thus, particularly on

a campus of nearly 40,000 students, the occasional sightings or encounters with an alleged

harasser around campus cannot alone be harassment sufficiently “severe, pervasive, and

objectively offensive” for Title IX liability to attach. See M.D. v. Bowling Green Indep. Sch.

Dist., No. 1:15-CV-00014-GNS-HBB, 2017 U.S. Dist. LEXIS 11504, at *21-22 (W.D. Ky. Jan.

27, 2017) (granting summary judgment against Title IX claim that school was liable for its “lack

of remedial measures” in response to plaintiff’s report that she was suffering from

“psychological harm” due to the respondent’s “mere presence” on campus); Ha v. Northwestern

Univ., No. 14-cv-00895, 2014 U.S. Dist. LEXIS 160046, at *7-8 (N.D. Ill. Nov. 13, 2014)

(“[O]ccasional glimpse of [harasser] on the campus” and “claims that knowledge of [harasser’s]

presence on the campus caused [plaintiff] considerable grief” are not actionable under Title IX);

O’Hara v. Colonial Sch. Dist., No. 99 CV 399, 2002 U.S. Dist. LEXIS 12153, at *18 (E.D. Pa.

Mar. 25, 2002) (“Plaintiffs allege nothing more than that John Doe could occasionally be found

in the same vicinity as [assaulted student] and that he would stare at her. These are not claims of

sexual harassment actionable under Title IX.”). To hold otherwise would essentially require

schools to immediately expel anyone accused of sexual misconduct, lest the school run the risk

that the two students may encounter each other while charges are pending. But see Davis, 526

U.S. at 648 (holding that there is no obligation to expel students accused of sexual assault).




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               2.      Plaintiff Pleads No Facts Showing that MSU’s Response to Her
                       Claims Amounts to Deliberate Indifference Which Caused Her to Suffer
                       Additional Harassment.

               Plaintiff admits that MSU took action in response to her claim of assault by

investigating her complaint and ultimately finding Mumphery responsible. (PageID.5-6 at ¶¶ 29-

30, PageID.9 at ¶ 50). And, importantly, Plaintiff does not allege that she had any further contact

with Mumphery, much less that she experienced additional harassment, after MSU was put on

notice of the alleged assault. Because there was no ongoing harassment at the time MSU learned

of the past assault, MSU did not subject Plaintiff to discrimination, and her Title IX claim must

be dismissed. M.D., 709 F. App’x at 778.

               Plaintiff alleges only that she feared she would see Mumphery on campus

(PageID.6 at ¶ 35, PageID.10 at ¶ 62). This is insufficient, particularly where she pleads that

Mumphery was no longer even a student at MSU. See M.D. v. Bowling Green Indep. Sch. Dist.,

No. 1:15-CV-00014-GNS-HBB, 2017 U.S. Dist. LEXIS 11504, at *21-22 (W.D. Ky. Jan. 27,

2017) (school not liable for its “lack of remedial measures” in response to plaintiff’s report that

she was suffering from “psychological harm” due to the respondent’s “mere presence” on

campus), aff’d, 709 F. App’x 775 (6th Cir. 2017); Ha v. Northwestern Univ., No. 14-cv-00895,

2014 U.S. Dist. LEXIS 160046, at *7-8 (N.D. Ill. Nov. 13, 2014) (“[O]ccasional glimpse of

[harasser] on the campus” and “claims that knowledge of [harasser’s] presence on the campus

caused [plaintiff] considerable grief” are not actionable under Title IX); see also Pahssen, 668

F.3d at 364 (school not liable even if harassment continues if it did not have “actual knowledge

that its efforts to remediate [were] ineffective”); Stiles, 2016 U.S. App. LEXIS 5595, at *16

(finding no deliberate indifference where school took action, even if the action did not fully

eliminate the ongoing harassment).



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                 Unable to plead further harassment, Plaintiff’s allegations relate to particular

remedial demands that she did not receive, which are not actionable under Davis. Plaintiff

admits that she was provided with a “school visa” for academic accommodations (PageID.8 at ¶¶

43-44), but alleges she was not offered a no-contact order, no-trespass order, or housing or class

changes. (PageID.6-7 at ¶¶ 36, 38). Yet, Plaintiff alleges no facts suggesting she ever requested

such measures or facts supporting the need for any such measures – she does not allege that she

shared housing or classes with Mumphery. To the contrary, she alleges that he was no longer on

campus after the fall 2014 football season. (PageID.4 at ¶ 20).

                 Plaintiff also claims she was not offered financial assistance for counseling.

(PageID.6 at ¶ 36). Even if MSU had refused to provide Plaintiff with counseling (which it did

not), failure to provide counseling is not actionable under Title IX. See Hazley v. Monroe

County Bd. of Ed., No. 08-0142-WS-B, 2008 U.S. Dist. LEXIS 102283 at *9 (S.D. Ala. Dec. 17,

2008) (“[T]he plaintiffs have offered, and the Court has discovered, no authority for the

proposition that a defendant has any duty under Title IX to offer counseling to a student victim

of teacher sexual harassment.”); see also Romero v. City of New York, 839 F. Supp. 2d 588, 613

(E.D.N.Y. 2012) (finding that, even if the parent of a minor student asserting a Title IX claim

had requested counseling services, “the failure to provide services, by itself, is not sufficient to

constitute ‘an official decision by the recipient not to remedy the violation’”) (citing Gebser, 524

U.S. at 290)).

                 Finally, Plaintiff alleges that MSU’s investigation took almost six months, which

was longer than MSU’s policy to complete investigations within 90 days. (PageID.6 at ¶ 30).

This allegation sounds in negligence, not deliberate indifference. See, e.g., Oden, 440 F.3d at

1089 (finding nine-month delay not deliberately indifferent, even if negligent and in violation of



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school’s own policy); Sanches, 647 F.3d at 169-70 (“Title IX does not require flawless

investigations or perfect solutions,” and “[a] district’s ‘failure to comply with [its] regulations . .

. does not establish the requisite . . . deliberate indifference.’”); Facchetti, 175 F. Supp. 3d at

637 (stating that whether a college’s response was “reasonable or proper . . . is not the correct

standard” under Title IX, it must have been “clearly unreasonable” to trigger liability); see also

Ross v. Univ. of Tulsa, 180 F. Supp. 3d 951, 973 (N.D. Okla. Apr. 15, 2016) (granting summary

judgment despite evidence of potential missteps in the process because “[t]he inquiry is not

whether [the university] could have done better; it is whether [the university] acted with

deliberate indifference to its Title IX obligations when [plaintiff] reported rape.”). While the

process took longer than Plaintiff may have preferred, it was not deliberately indifferent. And

since there was no ongoing harassment during the investigation, any delay did not subject

Plaintiff to gender discrimination.

                Although MSU did, in fact, provide Plaintiff with assistance, she cannot sue MSU

for damages based on her claim that it did not provide a particular “remedy” to harassment

committed not by the school, but by someone else. See Vance, 231 F.3d at 260 (stating

“[v]ictims do not have a right to particular remedial demands” under Title IX). While a school

may not sit by and watch students sexually harass one another, Davis expressly rejected the

argument that Plaintiffs proffer here – that a University has an obligation to remedy the effects of

past harassment. The four Justices who dissented in Davis argued that the majority was creating

just such a requirement: “Rather than beginning with the language of Title IX itself, the majority

begins with our decision in Gebser and appears to discover there a sweeping legal duty –

divorced from agency principles – for schools to remedy third-party discrimination against

students.” 526 U.S. at 668 (Kennedy, J., dissenting). But the five-Justice majority repeatedly



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pushed back – likely in an effort to secure the needed fifth vote to gain a majority – making it

crystal clear that the decision was imposing no such duty: “The dissent consistently

mischaracterizes this standard to require funding recipients to ‘remedy’ peer harassment . . . and

to ‘ensure that . . . students conform their conduct to’ certain rules . . . . Title IX imposes no such

requirements.” Id. at 648. The majority likewise emphasized that “the dissent erroneously

imagines that victims of peer harassment now have a Title IX right to make particular remedial

demands. . . . In fact, as we have previously noted, courts should refrain from second guessing

the disciplinary decisions made by school administrators.” Id. Finally, the majority cautioned:

“We trust that the dissent’s characterization of our opinion will not mislead courts to impose

more sweeping liability than we read Title IX to require.” Id. at 652. This Court should heed

that warning, and refuse Plaintiffs’ invitation to expand Davis into a drastically broader cause of

action than intended.

       B.      Plaintiff Pleads No Facts Plausibly Suggesting that MSU Engaged in a
               Custom or Practice of Gender Discrimination.

               The Complaint contains a handful of paragraphs alleging that MSU had a “custom

and practice” of “discourag[ing] and dissuad[ing] students who had been sexually assaulted”

from pursuing complaints, particularly against “male athletes,” which allegedly led to disparate

treatment and a disparate impact on female students. (See PageID.12-13 at ¶¶ 72-73; see also

PageID.11 at ¶¶ 64-66). These are nothing more than conclusory allegations of sex-based

animus of the kind that courts routinely dismiss under Twombly. See, e.g., Schaumleffel v.

Muskingum Univ., No. 2:17-cv-463, 2018 U.S. Dist. LEXIS 36350, at *39-40 (S.D. Ohio Mar. 6,

2018) (dismissing Title IX claim where plaintiff merely alleged a “pattern and practice” of

gender discrimination at the university without pleading any facts to make such an allegation

plausible); Doe v. Denison Univ., No. 2:16-cv-143, 2017 U.S. Dist. LEXIS 53168, at *32 (S.D.


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Ohio Mar. 30, 2017) (same); see also Doe v. Univ. of Ala. in Huntsville, 177 F. Supp. 3d 1380,

1398 (N.D. Ala. 2015) (stating in § 1983 discrimination claim that “[m]erely mouthing the

buzzwords like ‘pattern and practice’ . . . in a complaint does not satisfy minimum pleading

requirements because it represents a legal conclusion, and such conclusory labels are not credited

for Rule 12(b)(6) purposes”).

               Moreover, Plaintiff’s own case does not fit the “pattern” she alleges. She does not

– and cannot – allege that anyone at MSU made any comments to her or otherwise discouraged

her from pursuing her complaint against Mumphery either because she is female or he is male.

To the contrary, she alleges that she did report Mumphery, that MSU did investigate her

complaint and that MSU did sanction Mumphery, which belies her claim that MSU provides

“preferential treatment to male athletes.” (PageID.12-13 at ¶ 72).4

               Nor does she allege any facts about how MSU handled any other cases which

gives rise to a plausible claim that MSU engaged in a pattern of suppressing such complaints.

Her allegation, upon information and belief, that MSU never found a sexual harassment violation

prior to 2012 (PageID.11 at ¶ 66) is completely baseless. And even if it were true, it does it

establish anything with respect to bias against females. At most, Plaintiff alleges a bias against

all students who report sexual misconduct. Cf. Sahm v. Miami Univ., 110 F. Supp. 3d 774, 778

(S.D. Ohio 2015) (“Demonstrating that a university official is biased in favor of the alleged

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          Underscoring the conclusory nature of Plaintiff’s allegation is the fact that Mumphery
has filed a lawsuit in this court making the exact opposite claim – that “Michigan State has
demonstrated a pattern of inherent and systematic gender bias and discrimination against male
students accused of misconduct” and “particularly male athletes . . . .” Mumphery v. Michigan
State Univ., No. 1:18-cv-00576, PageID.48 at ¶¶ 266, 268. It simply cannot be that either side to
a student conduct case can survive a motion to dismiss by just including boilerplate allegations
that the result must have been the result of gender bias. Otherwise, the federal courts will
regularly find themselves serving as a court of appeal from internal student disciplinary
proceedings.


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victims of sexual assault claims, and against the alleged perpetrators, is not the equivalent of

demonstrating bias against male students.”).

               This “disparate impact theory” is not cognizable under Title IX. By her own

pleading, Plaintiff alleges that “students who had been sexually assaulted” are disadvantaged

(PageID.12 at ¶ 72), which can mean either female or male students. Both on its face and in

practice, MSU’s sexual misconduct policy is gender-neutral. That women may be more likely to

experience and report sexual assault against men does not mean that MSU’s policy favors men.

Indeed, “[m]ost courts have held that Title IX does not authorize disparate impact claims because

it imports Title VI’s limitation that plaintiffs may only bring private suits to redress intentional

discrimination.” Pacheco v. St. Mary’s Univ., No. 15-cv-1131 (RCL), 2017 U.S. Dist. LEXIS

94510, at *42 (W.D. Tex. June 20, 2017) (emphasis in original); see Briscoe v. Health Care

Serv. Corp., 281 F. Supp. 3d 725, 738 (N.D. Ill. 2017) (“Plaintiffs may not assert Title IX

discrimination claims premised upon a disparate-impact theory.”); Nungesser v. Columbia Univ.,

244 F. Supp. 3d 345, 361-62 (S.D.N.Y. 2017) (“[C]ourts have held that a private right of action

based on the alleged disparate impact of a policy is not cognizable under Title IX.”); Doe v.

Rector & Visitors of George Mason Univ., 132 F. Supp. 3d 712, 732 (E.D. Va. 2015) (“It follows

that if Title VI does not provide for disparate impact claims then neither does Title IX.”);

Tsuruta v. Augustana Univ., No. 4:15-CV-04150-KES, 2015 U.S. Dist. LEXIS 136796, at *9

(D.S.D. Oct. 7, 2015) (agreeing with “reasoning of those courts that have held that, post-

Sandoval, a claimant cannot bring a disparate impact cause of action under Title IX) (citing

Alexander v. Sandoval, 532 U.S. 275 (2001)).




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V.     RELIEF

               For the foregoing reasons, MSU respectfully requests that the Court dismiss

Plaintiff’s Complaint for failure to state a claim upon which relief can be granted.



Date: July 10, 2018                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

               I certify that on the 10th day of July, 2018, I served the foregoing Defendant

Michigan State University’s Motion to Dismiss Plaintiff’s Complaint and Memorandum of Law

in Support, via electronic mail and First Class Mail, upon the following counsel of record:

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